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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
AKUSIA EVANS,
                                                                      No. 19 CV 10896-LTS-DCF
                                   Plaintiff,

                 -against-

UNITED STATES DEPARTMENT OF
EDUCATION,

                                    Defendant.
-------------------------------------------------------x

                                                     ORDER

                 The Court has been informed that Plaintiff has not received a copy of the Court’s

Order dated October 6, 2020 (Docket Entry No. 10), which directed Plaintiff to effect proper

service upon Defendant, in accordance with Federal Rule of Civil Procedure 4(i)(2), no later than

December 18, 2020, and directed the Clerk of Court to mail to Plaintiff a copy of that Order,

together with an amended summons and new service packet. It appears that the Court may not

have mailed those documents to Plaintiff.

                 Plaintiff’s time to complete service in this action is hereby extended to January

29, 2021. The Clerk of Court is directed to mail copies of this Order and the Court’s Order dated

October 6, 2020 (Docket Entry No. 10), together with an amended summons and new service

packet, to Plaintiff.

        SO ORDERED.

Dated: New York, New York
       December 30, 2020

                                                                       /s/ Laura Taylor Swain
                                                                       LAURA TAYLOR SWAIN
                                                                       United States District Judge




EVANS - ORD RE MAILING OF OCT 6 ORD.DOCX                   VERSION DECEMBER 30, 2020                  1
